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                        CENTRAL DISTRICT OF CALIFORNIA
  16
  17
     CHERYL GASTON and RENATE              Case No. 2:20-cv-09534-RGK-E
  18 GARRISON, Individually and on
     Behalf of All Others Similarly        MEMORANDUM OF POINTS AND
  19 Situated,                             AUTHORITIES IN SUPPORT OF
  20                                       PLAINTIFFS’ MOTION FOR FINAL
                     Plaintiffs,           APPROVAL OF CLASS ACTION
  21                                       SETTLEMENT
            v.
  22                                       DATE:            October 4, 2021
       FABFITFUN, INC.,                    TIME:            9:00 a.m.
  23                                       COURTROOM:       850, 8th Floor
                     Defendant.            JUDGE:           Hon. R. Gary Klausner
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   1 I.      INTRODUCTION
   2         On April 2, 2021, this Court granted preliminary approval of the proposed
   3 settlement that would resolve this litigation. The Court provisionally certified the
   4 proposed class pursuant to Federal Rule of Civil Procedure (“Rule”) 23 for
   5 settlement purposes, preliminarily approved the settlement terms as fair, adequate
   6 and reasonable, directed that notice be given to the Settlement Class, and scheduled
   7 a Final Approval Hearing for October 4, 2021.1 ECF No. 38 (the “Preliminary
   8 Approval Order”). The parties complied with the order and now ask the Court to
   9 finally approve the Settlement.
  10         The Settlement is fair, adequate and reasonable and represents a substantial
  11 recovery for the Settlement Class. Providing for a $625,000 Settlement Fund, the
  12 settlement delivers considerable relief to the Settlement Class. Despite the strength
  13 of Plaintiffs’ claims, the Settlement Class would otherwise continue to face
  14 significant litigation risk in the form of motions to dismiss and/or compel arbitration,
  15 opposition to class certification, motions for summary judgment, protractive fact and
  16 expert discovery, trial and potential appeals.
  17         The reaction of the Settlement Class has been overwhelmingly positive. The
  18 deadline to object or opt out of the settlement was June 16, 2021. As of the filing of
  19 this motion, in response to 432,342 direct Summary Notice emails, 2,387 direct
  20 Summary Notice postcards, a website, and a toll-free number, no one has objected
  21 to the settlement and only 5 individuals opted out. The deadline to submit a claim
  22 form was July 31, 2021. As of the date of this filing, the Claims Administrator has
  23 received 22,928 claim forms. This amounts to approximately 5% of the Settlement
  24 Class. Of the 22,928 timely Claim Forms received, 21,777 were claims for a Basic
  25 Award (Tiers I, II, and II) while 1,151 claims were Reimbursement requests.
  26
       1
  27        Unless otherwise indicated, the defined terms herein shall have the same
     definitions as set forth in the Settlement Agreement and Release executed February
  28 16, 2021 (the “Settlement Agreement” or “S.A.”), filed in support of the Motion for
     Preliminary Approval. See ECF No. 31.


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   1         As set forth herein, Plaintiffs respectfully request that the Court grant final
   2 approval of the settlement.
   3 II.     BACKGROUND
   4         Inasmuch as Plaintiffs detailed the background of the case in their Motion for
   5 Preliminary Approval, Plaintiffs set forth a summary of the case only to the extent
   6 relevant to the instant motion.
   7         A.    Plaintiffs’ Allegations and Claims
   8         This litigation arose out of allegations of a Security Incident whereby third
   9 parties may have accessed Defendant’s customers’ Personal Information in
  10 connection with unauthorized access to Defendant’s website from April 26, 2020 to
  11 May 14, 2020 and May 22, 2020 to August 3, 2020. First Amended Complaint
  12 (“FAC”) ¶ 2.
  13         B.     The Case Litigation and Settlement
  14         Plaintiff Gaston filed the initial complaint on October 16, 2020, alleging three
  15 causes of action: (1) negligence; (2) declaratory relief; and (3) violation of the
  16 Colorado Consumer Protection Act, Colo. Rev. Stat § 6-1-101, et seq.               Joint
  17 Declaration of Rachele R. Byrd and M. Anderson Berry In Support of Plaintiffs’
  18 Motion for Approval of Attorneys’ Fees Award, Expense Reimbursement, and
  19 Service Awards to Representative Plaintiffs (“Fees Motion Joint Declaration”), ¶ 9.
  20 Plaintiff Gaston sought several types of equitable and monetary relief on behalf of all
  21 persons whose PII was compromised. Id.
  22         Subsequently, Plaintiff Gaston served Defendant with discovery, including
  23 interrogatories, requests for production of documents, requests for admission and a
  24 notice of deposition under Fed. R. Civ. P. 30(b)(6). Id., ¶ 10. Defendant filed a Motion
  25 to Compel Arbitration and to Dismiss or Stay the Proceedings or, Alternatively, to
  26 Dismiss Plaintiff’s Complaint on January 20, 2021. See ECF No. 21.
  27         The parties reached a settlement in principal on January 12, 2021, during an
  28 all-day mediation with Martin Quinn, Esq. Id., ¶ 14. They then spent the next few



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   1 weeks negotiating the details of the Settlement Agreement and its exhibits and
   2 executed the Settlement Agreement on February 16, 2021. Id ¶ 17.
   3         C.    Preliminary Approval
   4         Plaintiffs filed their Motion for Preliminary Approval on February 19, 2021.
   5 ECF No. 32. On April 2, 2021, the Court granted Plaintiffs’ Motion for Preliminary
   6 Approval (ECF No. 38), provisionally certified a nationwide Settlement Class and
   7 directed that notice be issued to Settlement Class Members pursuant to the settlement.
   8 Id. at 13.
   9 III.    THE SETTLEMENT TERMS
  10         A.    Proposed Settlement Class
  11         The settlement will provide relief for the following Settlement Class: “[A]ll
  12 individuals identified by FabFitFun and to whom FabFitFun sent notice that their
  13 information may have been exposed in the Security Incident.” S.A., § 1.35. The
  14 Settlement Class contains approximately 441,160 individuals comprised of the
  15 following: (i) approximately 125,492 Class Members whose payment card, login and
  16 password information was potentially exposed in the Security Incident; (ii)
  17 approximately 66,556 Settlement Class Members whose login and account password,
  18 but not payment, information was potentially exposed in the Security Incident; and
  19 (iii) approximately 252,112 Settlement Class Members to whom FabFitFun sent
  20 notice of the Security Incident out of an abundance of caution but whose PII, upon
  21 further investigation, was not exposed or accessed by unauthorized third parties. Fees
  22 Motion Joint Decl., ¶ 20.2
  23         B.    The Settlement Fund
  24         The settlement provides for the creation of a Settlement Fund in the amount of
  25 $625,000, which will be used to make payments to Settlement Class Members and to
  26 pay the costs of Claims Administration, a Claims Referee to resolve any disputed
  27   2
           Note that the distribution of the 441,160 members of the Settlement Class
  28 changed slightly, reflecting fewer individuals whose payment card, login or password
     information was potentially exposed in the Security Incident.


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   1 claims, any Attorneys’ Fees and Expenses Award, and any Class Representative
   2 Service Awards. S.A., §§ 1.37, 2.1.3 Settlement Class Members were given the
   3 option of claiming one of three Basic Awards or a Reimbursement Award of up to
   4 $5,000. Id., §§ 2.2.1, 2.2.2. Tier 1 Basic awards were initially set at $55.00 for the
   5 approximately 125,492 Settlement Class Members, as identified by Defendant’s
   6 records, who potentially had their payment card, login and password information
   7 exposed in the Security Incident; Tier 2 Basic awards will initially be set at $25.00
   8 for the approximately 66,556 Settlement Class Members, as identified by Defendant’s
   9 records, who potentially had their login and account password, but not payment,
  10 information exposed in the Security Incident; and Tier 3 Basic awards will initially
  11 be set at $12.00 for the approximately 252,112 Settlement Class Members not in Tier
  12 1 or Tier 2. FabFitFun notified the Tier 3 individuals out of an abundance of caution,
  13 but the PII belonging to these individuals was not exposed or accessed by
  14 unauthorized third parties. Id., § 2.2.1.
  15         Instead of a Basic Award, Settlement Class Members were given the
  16 opportunity to claim a Reimbursement Award if: (i) during the Unauthorized Charge
  17 Period they experienced one or more fraudulent or unauthorized charges that they
  18 claim in good faith was more likely than not caused by the Security Incident on a
  19 payment method they used on Defendant’s website during the Class Period, which
  20 charges were not denied, reversed or otherwise credited or reimbursed; and (ii) they
  21 made reasonable efforts to avoid, or seek reimbursement for, their losses, including
  22 but not limited to exhaustion of all available credit monitoring insurance and identity
  23 theft insurance.     Id., § 2.2.2.     Settlement Class Members who claimed a
  24 Reimbursement Award will be eligible for reimbursement of up to $5,000.00 total for
  25
       3
  26       Defendant, in conjunction with Angeion, provided, and paid for, the notice
  27 required under the Class Action Fairness Act (CAFA), within the timelines specified
     by 28 U.S.C. § 1715(b). S.A., § 7.4; Declaration of Amy Fratkin on Behalf of
  28 Angeion Group, LLC Regarding Compliance with the Court Approved Notice
     Program (“Fratkin Decl.”), ¶ 4.


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   1 the following unreimbursed losses, if any, incurred as a result of the Security Incident:
   2 (a) unreimbursed unauthorized charges during the Unauthorized Charge Period4 on a
   3 payment method used on Defendant’s website that more likely than not resulted from
   4 the Security Incident (only for Settlement Class Members, as identified by
   5 Defendant’s records, who potentially had their payment information exposed in the
   6 Security Incident); (b) up to three hours of lost time spent dealing with the
   7 unreimbursed, unauthorized charges at a rate of $20.00 per hour, but only if at least
   8 one full hour was spent, and only if the time can be documented with reasonable
   9 specificity by answering the questions on the Claim Form; and (c) Out of Pocket
  10 Expenses. Id.
  11            If there are insufficient funds to pay these amounts based on the number of
  12 claimants, the payment to each claimant will be reduced pro rata among all Class
  13 Members who submitted Approved Claims. Id., § 7.3.2. On the other hand, if the
  14 total dollar value of all Approved Claims at the payment rates is less than the amount
  15 remaining in the Settlement Fund after the Attorneys’ Fees and Expenses Award,
  16 Service Awards, Claims Administration costs, and any payments to the Claims
  17 Referee have been paid in full, the payment amount for all Approved Claims will be
  18 increased pro rata among all Class Members who submitted Approved Claims by up
  19 to double the initial amounts stated above. Id. § 7.3.1. Any funds remaining in the
  20 Settlement Fund after distributions to Class Members will be distributed to a cy pres
  21 recipient, selected by the Parties with approval by the Court. Id., § 7.6.
  22            C.    Injunctive Relief
  23            As part of the settlement, FabFitFun agrees that it has taken or will take the
  24 following steps:
  25       1.   Employ a third-party cyber security forensic expert to conduct a risk
  26            assessment of the FabFitFun data assets and environment consistent with the
  27
  28   4
             The “Unauthorized Charge Period” is the time from the beginning of the Class
       Period through the 180th day after the Class Period ends. S.A., § 1.39.


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   1         NIST Risk Management Framework.
   2    2.   Offer multi-factor authentication for all FabFitFun customer accounts.
   3    3.   Implement a process to train FabFitFun security personnel regarding any new
   4         or modified security procedure.
   5    4.   Hire additional FabFitFun security/technical personnel, including a Director of
   6         Cyber Security or equivalent (subject to Defendant’s general employment
   7         practices and policies, including at-will employment if applicable).
   8    5.   Complete Payment Card Industry (“PCI”) Self-Assessment Questionnaire
   9         (“SAQ”) A.
  10    6.   Conduct phishing and penetration testing of the FabFitFun enterprise
  11         environment and enterprise user base.
  12    7.   Deploy intrusion detection and prevention, malware and anti-virus, and
  13         monitoring applications within the FabFitFun environment, as appropriate.
  14    8.   Implement regular reviews of the logs of FabFitFun’s ecommerce platform, as
  15         appropriate.
  16 S.A., § 2.5. These changes will benefit those members of the Settlement Class whose
  17 information remains in FabFitFun’s possession, and also other customers who make
  18 purchases from FabFitFun in the future. Fees Motion Joint Decl., ¶ 35.
  19         D.    Release
  20         The Release included in the Settlement Agreement is narrowly tailored to
  21 provide that Plaintiffs and Settlement Class Members completely and unconditionally
  22 release, forever discharge and acquit the Released Persons from any and all of the
  23 Released Claims. S.A., § 8.1. Released Claims are limited solely to the claims arising
  24 out of the same facts pleaded in the First Amended Complaint. Id., § 1.27.
  25 IV.     Notice to the Class
  26         The Court’s Preliminary Approval Order appointed Angeion Group, LLC
  27 (“Angeion”) to serve as the Claims Administrator and provide notice to the Settlement
  28 Class. ECF No. 38, at 13-14. As detailed in the Declaration of Amy Fratkin on Behalf



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   1 of Angeion Group, LLC Regarding Compliance with the Court Approved Notice
   2 Program (“Fratkin Decl.”), 432,342 Settlement Class Members received direct notice
   3 via email and 2,387 Settlement Class Members received direct notice via U.S. mail
   4 where the emails bounced back as undeliverable.             Fratkin Decl., ¶¶ 8, 12.5
   5 Additionally, Angeion posted the long form notice on a dedicated settlement website,
   6 www.FFFdbsettlement.com, along with other important documents. Fratkin Decl.,
   7 ¶ 14. Furthermore, Settlement Class Members were able to call a toll-free number
   8 with interactive voice response, FAQs. Id., ¶ 15.
   9            A.      Claims, Requests for Exclusion and Objections
  10            The deadline to object or opt out of the settlement was June 16, 2021. As of
  11 the filing of this motion, in responses to 432,342 direct Summary Notice emails, 2,387
  12 direct Summary Notice postcards, a website, and a toll-free number, no one has
  13 objected to the settlement and only 5 individuals opted out. Fratkin Decl., ¶ 18-20.
  14 The deadline to submit a claim form was July 31, 2021. As of the date of this filing,
  15 the Claims Administrator has received 22,928 claim forms. This amounts to a 5.27%
  16 claims rate, which compares favorably to the claims rates in other data breach class
  17 action settlements within this Circuit. See, for example:
  18       Case Title                        Approx.        No. of          Claims Rate
                                             Class Size     Claims
  19       Corona v. Sony Pictures           435,000        3,127           0.7%
  20       Entertainment, Inc., No. 2:14-
           cv-9600 (C.D. Cal.), ECF 145-1
  21       at 11 n.8 & ECF 164 at 2
           In re LinkedIn User Privacy       6,400,000      47,336          0.7%
  22       Litig., No. 12-cv-03088-EJD
  23
       5
  24          On September 2, 2021, Angeion discovered that it did not send either email
       notice or U.S. mail notice to 9,360 Settlement Class members, or approximately 2%
  25
       of the Settlement Class, who it had identified as having invalid email addresses.
  26   Fratkin Decl. at 2 n.1 & ¶ 13. Counsel has directed Angeion to send notice to these
  27   9,360 individuals. Id., ¶ 13. The parties have agreed to re-open the claims, opt-out
       and objection period for this 2% of the Settlement Class and will submit a more
  28   detailed plan and modified notice to the Court for approval with its reply
       memorandum on September 27, 2021.


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   1    (N.D. Cal.), ECF 122 at 2 &
        ECF 145-2 at ¶ 12
   2    In re Banner Health Data        2,900,000        39,091          1.3%
        Breach Litigation, No. 2:16-cv-
   3    2696 (D. Ariz.), ECF 170 at 1,
        and ECF 195-3 at ¶ 12
   4    In re Anthem, Inc. Data Breach 79,200,000        1,380,000       1.7%
        Litig., No. 5:15-md-02617-LHK
   5    (N.D. Cal.), ECF 1007 at 4 &
   6    ECF 1007-6 at ¶ 2
        In re Experian Data Breach      14,931,074       436,006         2.9%
   7    Litigation, No. 8:15-cv-01592-
        JLS-DFM (C.D. Cal.), ECF 286-
   8    1 at 20 & ECF 309-3 at ¶ 8.
   9
  10         Of the 22,928 timely Claim Forms received, 21,777 were claims for a Basic
  11 Award (Tiers I, II, and II) while 1,151 claims were Reimbursement requests. Fratkin
  12 Decl., ¶ 16.
  13         B.    Settlement Notice and Administration Expenses
  14         Through July 2021, Angeion has incurred approximately $36,002.53 in
  15 expenses associated with identifying and notifying Settlement Class Members and
  16 administering the Settlement Fund. Fratkin Decl., ¶ 22. At preliminary approval,
  17 Angeion estimated that notice and administration costs will total approximately
  18 $83,270. Angeion estimates its future notice and administration costs to be
  19 approximately $29,000, with total estimated administrative costs in the amount of
  20 $65,000. Id.
  21 V.      ARGUMENT
  22         A.    The Court Should Certify the Class for Settlement Purposes
  23         Before assessing the parties’ settlement, the Court should first confirm the
  24 underlying settlement class meets the requirements of Rule 23. See Amchem Prods.,
  25 Inc. v. Windsor, 521 U.S. 591, 619-620 (1997); Manual for Complex Litigation,
  26 § 21.632 (4th ed., 2004). The requirements are well known: numerosity,
  27 commonality, typicality, and adequacy—each of which is met here. Fed. R. Civ. P.
  28 23(a); Ellis v. Costco Wholesale Corp., 657 F.3d 970, 979–80 (9th Cir. 2011). In its



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   1 Preliminary Approval Order, the Court found that the Settlement Class met the
   2 requirements of Rule 23 and preliminarily certified the Settlement Class under Rule
   3 23(b)(3). See ECF No. 38, 7-8. Plaintiffs now request that the Court certify the
   4 Settlement Class for purposes of this settlement.
   5               1.     The Rule 23(a) Requirements Are Met for Purposes of
   6                      Settlement
   7         The Settlement Class includes more than 441,000 individuals identified by
   8 FabFitFun and to whom FabFitFun sent notice that their information may have been
   9 exposed in the Security Incident; therefore, it readily satisfies the numerosity
  10 requirement for purposes of the settlement. See Fed. R. Civ. P. 23(a)(1); Joint
  11 Declaration of M. Anderson Berry and Rachele R. Byrd In Support of Plaintiffs’
  12 Unopposed Motion for Preliminary Approval of Class Action Settlement
  13 (“Preliminary Approval Joint Declaration”), ¶ 11.
  14         The commonality requirement, which requires that class members’ claims
  15 “depend upon a common contention” of such a nature that “determination of its truth
  16 or falsity will resolve an issue that is central to the validity of each [claim] in one
  17 stroke,” is also met for purposes of the settlement. Wal-Mart Stores, Inc. v. Dukes,
  18 564 U.S. 338, 350 (2011). Here, Plaintiffs’ claims turn on whether FabFitFun’s
  19 security environment was adequate to protect Class Members’ PII. The resolution of
  20 that inquiry revolves around evidence that does not vary from class member to class
  21 member, and so can be fairly resolved—at least for purposes of settlement—for all
  22 Settlement Class Members at once.
  23         Likewise, typicality and adequacy are easily met for purposes of settlement.
  24 The Class Representatives each allege that they were a FabFitFun customer who
  25 purchased new subscriptions from the FabFitFun website from April 26, 2020 to May
  26 14, 2020 and May 22, 2020 to August 3, 2020, may have had their PII compromised,
  27 and were therefore impacted by the same allegedly inadequate data security that they
  28 allege harmed the rest of the Settlement Class. See Just Film, Inc. v. Buono, 847 F.3d



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   1 1108, 1118 (9th Cir. 2017) (“[I]t is sufficient for typicality if the plaintiff endured a
   2 course of conduct directed against the class.”). The Class Representatives also have
   3 no conflicts with the Settlement Class; have participated actively in the case; and are
   4 represented by attorneys experienced in class action litigation, including data breach
   5 cases. See Staton v. Boeing Co., 327 F.3d 938, 957 (9th Cir. 2003) (adequacy satisfied
   6 if plaintiff and their counsel lack conflicts of interest and are willing to prosecute the
   7 action vigorously); Declaration of Plaintiff Cheryl Gaston in Support of Plaintiffs’
   8 Motion for Approval of Attorneys’ Fees, Expense Reimbursement, and Service
   9 Awards to Representative Plaintiffs, ECF No. 42-5; Declaration of Plaintiff Renate
  10 Garrison in Support of Plaintiffs’ Motion for Approval of Attorneys’ Fees, Expense
  11 Reimbursement, and Service Awards to Representative Plaintiffs, ECF No. 42-6.
  12                2.    The Requirements of Rule 23(b) Are Met for Purposes of
  13                      Settlement
  14         “In addition to meeting the conditions imposed by Rule 23(a), the parties
  15 seeking class certification must also show that the action is maintainable under Fed.
  16 R. Civ. P. 23(b)(1), (2) or (3).” Hanlon v. Chrysler Corp., 150 F.3d 1011, 1022 (9th
  17 Cir. 1998). Here, the Settlement Class is maintainable for purposes of settlement
  18 under Rule 23(b)(3), as common questions predominate over any questions affecting
  19 only individual members and class resolution is superior to other available methods
  20 for a fair and efficient resolution of the controversy. Id. Plaintiffs’ claims depend,
  21 first and foremost, on whether FabFitFun used reasonable data security measures to
  22 protect consumers’ PII. That question can be resolved, for purposes of settlement,
  23 using the same evidence for all Class Members, and thus is precisely the type of
  24 predominant question that makes a class-wide settlement worthwhile. See, e.g., Tyson
  25 Foods, Inc. v. Bouaphakeo, 136 S. Ct. 1036, 1045 (2016) (“When ‘one or more of the
  26 central issues in the action are common to the class and can be said to predominate,
  27 the action may be considered proper under Rule 23(b)(3) … .’”) (citation omitted).
  28        Additionally, for purposes of settlement, a class action is the superior method




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   1 of adjudicating consumer claims arising from the Security Incident—just as in other
   2 data breach cases where class-wide settlements have been approved. See, e.g., In re
   3 Yahoo! Inc. Customer Data Sec. Breach Litig., No. 5:16-md-02752-LHK (N.D. Cal.
   4 July 20, 2019); Parsons v. Kimpton Hotel & Rest. Group, LLC, No. 3:16-cv-05387-
   5 VC (N.D. Cal. Jan. 9, 2019); In re Anthem, Inc. Data Breach Litig., 327 F.R.D. 299,
   6 316-17 (N.D. Cal. 2018); In re LinkedIn User Privacy Litig., 309 F.R.D. 573, 585
   7 (N.D. Cal. 2015). Adjudicating individual actions here is impracticable: the amount
   8 in dispute for individual class members is too small, the technical issues involved are
   9 too complex, and the required expert testimony and document review too costly. See
  10 Just Film, 847 F.3d at 1123. Therefore, the Court can and should certify the
  11 Settlement Class for purposes of the settlement.
  12         B.    The Settlement Should Be Finally Approved
  13         Rule 23(e) provides that a proposed class action may be “settled, voluntarily
  14 dismissed, or compromised only with the court’s approval.” In order for a proposed
  15 class action to be approved, the Court must determine, after holding a hearing, that it
  16 is fair, adequate and reasonable. The Ninth Circuit has looked to the following factors
  17 in making this determination: (1) the strength of the plaintiff’s case; (2) the risk,
  18 expense, complexity, and likely duration of further litigation; (3) the risk of
  19 maintaining class action status throughout the trial; (4) the amount offered in
  20 settlement; (5) the extent of discovery completed and the stage of the proceedings;
  21 (6) the experience and views of counsel; (7) the presence of a governmental
  22 participant; (8) the reaction of the class members to the proposed settlement; and (9)
  23 whether the settlement is a product of collusion among the parties. In re Bluetooth
  24 Headset Prods. Liab. Litig., 654 F.3d 935, 946 (9th Cir. 2011). Each of these factors
  25 weighs in favor of approval here.
  26               1.     The Strength of Plaintiffs’ Case
  27         Plaintiffs believe they have built a strong case for liability. With respect to
  28 Plaintiffs’ negligence claim, Plaintiffs believe they will ultimately be able to offer



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   1 evidence that Defendant was negligent in failing to maintain reasonable and current
   2 data security programs and practices, which led directly to the loss of Plaintiffs’ and
   3 the Class’ PII. Joint Decl., ¶ 49.
   4         Plaintiffs also allege that Defendant’s failure to protect the PII constitutes a
   5 violation of the Oregon Unlawful Trade Practices Act, Or. Rev. Stat. § 646.605, et
   6 seq. and the Colorado Consumer Protection Act, Colo. Rev. Stat. § 6-1-101, et seq.
   7 See FAC, ¶¶ 93-104, 113-124. Both of these Acts prohibit businesses from engaging
   8 in unlawful business practices, including advertising that its goods and/or services
   9 have approval, characteristics, uses, benefits, and qualities that they do not have. Id.,
  10 ¶¶ 97, 118. Here, Plaintiffs allege that Defendant violated the Oregon Unlawful Trade
  11 Practices Act and the Colorado Consumer Protection Act by, inter alia,
  12 misrepresenting that it would protect the privacy and confidentiality of Plaintiffs class
  13 members’ PII, including by implementing and maintaining reasonable security
  14 measures. See id., ¶¶ 98, 118-119. Plaintiffs also believe they have adequately
  15 alleged and can prove that Defendant violated the Colorado Security Breach
  16 Notification Act, Colo. Rev. Stat. § 6-1-716, et seq., which required FabFitFun to
  17 accurately notify Plaintiff Gaston and Colorado Subclass members if it became aware
  18 of a breach of its data security system in the most expedient time possible and without
  19 unreasonable delay. Id., ¶ 108; Preliminary Approval Joint Decl., ¶ 50. Plaintiffs
  20 allege that Defendant failed to disclose the Data Breach in a timely and accurate
  21 manner. FAC, ¶ 110.
  22         Plaintiffs believe their claims are viable and that they have a reasonably good
  23 chance of proving that FabFitFun’s data security was inadequate and that, if they
  24 establish that central fact, Defendant is likely to be found liable under at least some
  25 of the liability theories and statutory and common law Plaintiffs pled in their FAC.
  26 Preliminary Approval Joint Decl., ¶ 51. However, given the heavy obstacles and
  27 inherent risks Plaintiffs face with respect to the novel claims in data breach class
  28



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   1 actions, including class certification, summary judgment, and trial, the substantial
   2 benefits the Settlement provides favors final approval of the settlement. Id.
   3                2.     The Risk, Expense, Complexity, and Likely Duration of
   4                       Further Litigation
   5         While Plaintiffs believe their case is a strong one, all cases, including this one,
   6 are subject to substantial risk. This case involves a proposed class of hundreds of
   7 thousands of individuals (each of whom, FabFitFun has argued, would need to
   8 establish cognizable harm); a complicated and technical factual overlay; and a
   9 sympathetic and motivated Defendant that already has provided some relief to its
  10 potentially affected customers.
  11       Although nearly all class actions involve a high level of risk, expense, and
  12 complexity—undergirding the strong judicial policy favoring amicable resolutions,
  13 Linney v. Cellular Alaska P’ship, 151 F.3d 1234, 1238 (9th Cir. 1998)—this is an
  14 especially complex class in an especially risky arena. Historically, data breach cases
  15 face substantial hurdles in surviving even the pleading stage. See, e.g., Hammond v.
  16 The Bank of N.Y. Mellon Corp., No. 08 Civ. 6060 (RMB) (RLE), 2010 U.S. Dist.
  17 LEXIS 71996, at *2-4 (S.D.N.Y. June 25, 2010) (collecting cases). Even cases of
  18 similar widespread notoriety and implicating data far more sensitive than at issue here
  19 have been found wanting at the district court level. In re U.S. Office of Pers. Mgmt.
  20 Data Sec. Breach Litig., 266 F. Supp. 3d 1, 19 (D.D.C. 2017) (“The Court is not
  21 persuaded that the factual allegations in the complaints are sufficient to establish . . .
  22 standing.”), reversed in part, 928 F.3d 42 (D.C. Cir. 2019) (holding that plaintiff had
  23 standing to bring a data breach lawsuit).
  24         To the extent the law has gradually accepted this relatively new type of
  25 litigation, the path to a class-wide monetary judgment remains unforged, particularly
  26 in the area of damages. For now, data breach cases are among the riskiest and
  27 uncertain of all class action litigation, making settlement the more prudent course
  28 when a reasonable one can be reached. The damages methodologies, while



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   1 theoretically sound in Plaintiffs’ view, remain untested in a disputed class certification
   2 setting and unproven in front of a jury. And as in any data breach case, establishing
   3 causation on a class-wide basis is rife with uncertainty. Additionally, FabFitFun
   4 argued in its motion to dismiss that its website terms of use include a class action
   5 waiver and provide for mandatory arbitration. While Plaintiffs believe they have valid
   6 arguments in opposition, they recognize the risk that FabFitFun may be successful on
   7 a motion to enforce the class action waiver and compel individual arbitration.
   8 Preliminary Approval Joint Decl., ¶ 52. This would deprive Plaintiffs of the ability
   9 to bring this action on behalf of the putative class, result in the dismissal of the claims,
  10 and require arbitration of those claims. Id.
  11         Therefore, given these risks and uncertainties, Plaintiffs believe the $625,000
  12 Settlement Fund is a good result and provides a substantial benefit to the Settlement
  13 Class. Id., ¶ 53.
  14                3.     The Risk of Maintaining Class Action Status Through Trial
  15         While Plaintiffs’ case is still in the pleadings stage, the Court has not yet
  16 certified any class treatment of this case. Class certification in consumer data breach
  17 cases is rare and has only occurred in a few cases. See, e.g., Smith v. Triad of Ala.,
  18 LLC, No. 1:14-CV-324-WKW, 2017 U.S. Dist. LEXIS 38574, at *45-46 (M.D. Ala.
  19 Mar. 17, 2017). While certification of additional consumer data breach classes may
  20 well follow, the dearth of direct precedent adds to the risks posed by continued
  21 litigation.
  22                4.     The Amount Offered in Settlement
  23        In light of the risks and uncertainties presented by data breach litigation, the
  24 $625,000 Settlement Fund achieved for the Settlement Class in this case is a good
  25 result. Based on Class Counsel’s experience in prior similar cases, and with the
  26 claims rates in those cases, the Settlement Fund of $625,000, the Basic Awards, and
  27 the up to $5,000 Reimbursement Award should be sufficient to recompense the
  28 legitimate individual claims and all class wide claims in the aggregate. Preliminary



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   1 Approval Joint Decl., ¶ 53.
   2        Moreover, the settlement value per class member here of approximately $1.42
   3 is on par with or exceeds that in other exemplary data breach settlements. For
   4 example, the consideration paid by Home Depot to settle a data breach class action
   5 was approximately $0.51 per class member. See In re The Home Depot, Inc.,
   6 Customer Data Sec. Breach Litig., No. 1:14-MD-02583-TWT, ECF No. 181-2
   7 (March 7, 2016) (Settlement Agreement); id., 2017 U.S. Dist. LEXIS 221736, at *24
   8 (N.D. Ga. Sept. 22, 2017) (order approving settlement). And the Target data breach
   9 resolved with Target paying the equivalent of $0.17 per class member. See In re
  10 Target Corp. Customer Data Sec. Breach Litig., No. MDL 14-2522-PAM, ECF No.
  11 358-1 (D. Minn. March 18, 2015) (Settlement Agreement); id., 2017 U.S. Dist.
  12 LEXIS 75455, at *27-29 (D. Minn. May 17, 2017) (order certifying settlement class
  13 on remand from the 8th Circuit). These comparisons are not intended to disparage
  14 the settlements achieved in those cases, but to underscore that Plaintiffs have achieved
  15 a good resolution for the Settlement Class.
  16        Together, the Settlement Fund and the injunctive measures to which FabFitFun
  17 has agreed (S.A., § 2.5) provide Settlement Class Members with both compensation
  18 for the damages they may have sustained as a result of the Security Incident and
  19 improved security of their PII.
  20               5.     The Extent of Discovery Completed and the Stage of
  21                      Proceedings
  22         Before entering into settlement discussions on behalf of class members, counsel
  23 should have “sufficient information to make an informed decision.” Linney, 151 F.3d
  24 at 1239. Here, Plaintiffs vigorously and aggressively gathered all of the information
  25 that was available regarding FabFitFun and the Security Incident—including
  26 publicly-available documents concerning announcements of the Security Incident and
  27 notice of the Security Incident to its customers. Fees Motion Joint Decl., ¶¶ 7, 14, 16.
  28 The parties also informally exchanged non-public information concerning the



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   1 Security Incident and the size of the Class in preparation for a successful mediation.
   2 Id. Prior to execution of the Settlement Agreement and the filing of this motion,
   3 Plaintiffs also received confirmatory discovery from Defendant in the form of a
   4 declaration attesting to the nature and extent of the Security Incident. Id.
   5         Although the parties have not engaged in formal discovery (although Plaintiffs
   6 served it), Class Counsel’s collective decades of experience in similar types of privacy
   7 and data protection practices provided substantive knowledge on the subject to enable
   8 Class Counsel to represent Plaintiffs’ and Class Members’ interests without
   9 expending hundreds of hours and enormous financial resources to come up to speed
  10 on the subject area. Id., ¶ 55. Accordingly, Plaintiffs are well informed about the
  11 strengths and weaknesses of this case.
  12               6.     The Experience and Views of Counsel
  13         Class Counsel initiated this lawsuit when FabFitFun announced the Security
  14 Incident, which, based upon publicly-available information, may have impacted tens
  15 of thousands of FabFitFun customers. Class Counsel have substantial experience
  16 litigating complex class cases of various types, including data breach cases such as
  17 this one. See Preliminary Approval Joint Decl., ¶ 48 & Exs. 2 and 3 thereto. Having
  18 worked on behalf of the putative class since the Security Incident was first announced,
  19 evaluated the legal and factual disputes, and dedicated significant time and monetary
  20 resources to this litigation, proposed Class Counsel endorse the Settlement without
  21 reservation. Id., ¶ 56.
  22               7.     The Positive Reaction of the Class Members Favors Final
  23                      Approval
  24         The deadline to object or opt out of the settlement was June 16, 2021. Notably,
  25 the Claims Administrator has not received any objections and only 5 individuals
  26 opted-out. Fratkin Decl., ¶ 18-20. “It is established that the absence of a large number
  27 of objections to a proposed class action settlement raises a strong presumption that
  28 the terms of a proposed class settlement action are favorable to the class members.”



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   1 Nat’l Rural Telecomms. Coop. v. DIRECTV, Inc., 221 F.R.D. 523, 529 (C.D. Cal.
   2 2004); 4 Newberg on Class Actions, § 11:48 (“Courts have taken the position that one
   3 indication of the fairness of a settlement is the lack of or small number of objections
   4 [citations omitted]”). The fact that no Settlement Class Members objected indicates
   5 overwhelming support for the settlement and strongly favors approval.
   6               8.     Lack of Collusion Among the Parties
   7         The parties negotiated a substantial Settlement Fund, making available
   8 $625,000 to resolve this case. The parties did not commence discussion of fees until
   9 agreement on all substantive portions of the class resolution had been reached, and
  10 both the class portion of the resolution and the fees were negotiated at arm’s-length
  11 under the direction of the parties’ mutually agreed-upon mediator Martin Quinn, Esq.,
  12 who has extensive experience in handling class action cases. Fees Motion Joint Decl.,
  13 ¶ 15. Therefore, the Court can be assured that the negotiations were not collusive. See
  14 G. F. v. Contra Costa Cty., No. 13-cv-03667-MEJ, 2015 U.S. Dist. LEXIS 100512,
  15 at *43 (N.D. Cal. July 30, 2015) (“[T]he assistance of an experienced mediator in the
  16 settlement process confirms that the settlement is non-collusive.”) (internal quotation
  17 marks and citation omitted).
  18 VI.     CONCLUSION
  19         For all of the foregoing reasons, Plaintiffs respectfully request that the Court
  20 finally approve the Settlement.
  21
       DATED: September 3, 2021              WOLF HALDENSTEIN ADLER
  22                                          FREEMAN & HERZ LLP
  23                                        By: /s/ Rachele R. Byrd
  24                                                 RACHELE R. BYRD

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